         Case 1:18-cv-02841-RMC Document 28 Filed 08/20/19 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                    )
THE AMERICAN HOSPITAL ASSOCIATION,                  )
ASSOCIATION OF AMERICAN MEDICAL                     )
COLLEGES, MERCY HEALTH MUSKEGON,                    )
CLALLAM COUNTY PUBLIC HOSPITAL                      )
NO. 2 d/b/a/ OLYMPIC MEDICAL CENTER,                )
and YORK HOSPITAL,                                  )
                                                    )
                      Plaintiffs,                   )
                                                    )
                      v.                            )      Civil Action No. 1:18-cv-2841
                                                    )
ALEX M. AZAR II,                                    )
in his official capacity as SECRETARY OF            )
HEALTH AND HUMAN SERVICES,                          )
                                                    )
                      Defendant.                    )
                                                    )


                  PLAINTIFFS’ RESPONSE TO SHOW CAUSE ORDER

       In response to the Court’s August 15, 2019 Order to Show Cause, Plaintiffs the American

Hospital Association, Association of American Medical Colleges, Mercy Health Muskegon,

Clallam County Public Hospital No. 2 d/b/a Olympic Medical Center, and York Hospital do not

oppose consolidation of the above-referenced cases for purposes of the Court’s decision.

       The below counsel would be available for oral argument on the following dates in

September, if convenient to the Court: September 6, 9, 12, 16, or 18-20.
        Case 1:18-cv-02841-RMC Document 28 Filed 08/20/19 Page 2 of 2



                                   Respectfully submitted,

                                   /s/ Catherine E. Stetson
                                   Catherine E. Stetson (D.C. Bar No. 453221)
                                   Susan M. Cook (D.C. Bar No. 462978)
                                   HOGAN LOVELLS US LLP
                                   555 Thirteenth Street, NW
                                   Washington, DC 20004
                                   Telephone: 202-637-5491
                                   Fax: 202-637-5910
                                   cate.stetson@hoganlovells.com

                                   Counsel for the American Hospital Association,
                                   Association of American Medical Colleges, Mercy
                                   Health Muskegon, Olympic Medical Center, and
                                   York Hospital

Dated: August 20, 2019
